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13
                          UNITED STATES DISTRICT COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
15

16

17   JAMES SHAYLER, an individual,         Case No. 2:20-cv-10051-MWF-PVC
18                Plaintiff,
                                           Hon. Michael W. Fitzgerald
19         v.
20   MMWH GROUP LLC, a California         PLAINTIFF’S MEMORANDUM OF
21   limited liability company; WASIM     POINTS AND AUTHORITIES IN
     HAMAD, an individual; and DOES 1-10, SUPPORT OF MOTION FOR
22
                   Defendants.            SUMMARY JUDGMENT
23

24                                         Date:     June 27, 2022
                                           Time:      10:00 a.m.
25
                                           Courtroom: 5A
26

27

28



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 2
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 3

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 5

 6
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 1   42 U.S.C. § 12188(a)(2) ....................................................................................... 24
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 1   I.     PRELIMINARY STATEMENT
 2
            This matter involves a disabled senior citizen’s multiple attempts to visit a
 3

 4   grocery/liquor store named Balcom’s Market (the “business”), located at 600 N.
 5
     Poplar Ave, Montebello, CA 90640 (the “Property”), which is not accessible to
 6

 7
     people with disabilities.

 8          Plaintiff James Shayler (“Plaintiff”) is an elderly man suffering from spinal
 9
     issues, severe leg pain, and sciatica, which prohibit him from standing for longer
10

11   than fifteen (15) minutes. He also has diminished use of his arm and hand. On
12
     three (3) separate occasions, he had difficulty visiting the Property simply because
13

14
     Defendants MMWH Group LLC and Wasim Hamad (“Defendants”) refuse to

15   perform the routine remediations necessary to make the Property accessible under
16
     the Americans with Disabilities Act of 1990 (“ADA”) (42 U.S.C. § 12181, et seq.).
17

18          Plaintiff moves for summary judgment because there is no dispute that, as an
19
     individual with disabilities, he faced/faces barriers to access at Defendants’
20

21
     Property. There are clear violations at the Property with respect to parking, routes

22   of travel, and access to the business interior. Many of these violations can be
23
     remediated with minimal time, expense, and no impact on the business.
24

25          Plaintiff had great difficulty disembarking from the car and walking to and
26
     entering the business given the hazards at the Property. As a disabled person who
27

28
     has trouble walking, and who needs and uses a cane or walker, Plaintiff would not


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 1   be able to safely disembark from the car and walk into the business given the
 2
     excess slopes and changes in level in the parking lot and the route connecting the
 3

 4   designated disabled parking space (and/or access aisle) to the business entrance.
 5
     Also, Plaintiff is not able to unload his mobility device(s) and safely disembark
 6

 7
     from his vehicle when the designated disabled parking space and adjacent access

 8   aisle are not clearly marked. When the boundaries of the designated disabled
 9
     space and the adjacent access aisle are inadequately marked, it is difficult for
10

11   Plaintiff to determine where to park, and non-disabled persons are not adequately
12
     deterred from parking in the designated disabled parking space and/or adjacent
13

14
     access aisle. It is difficult for Plaintiff to access the business if he is required to use

15   a parking space other than the designated disabled space. Further, Plaintiff had
16
     difficulty accessing the interior of the business as there was no blue sign with the
17

18   International Symbol of Accessibility (ISA) posted identifying the accessible
19
     entrance. Where there are multiple possible entrances and no ISA sign it can cause
20

21
     Plaintiff to have to backtrack and/or search for the accessible entrance which is

22   problematic for him given his difficulties walking and standing.
23
            Plaintiff is also aware of the conditions subsequently identified by his
24

25   Certified Access Specialist (CASp) and by his investigator, conditions which
26
     would also jeopardize his ability to safely access the Property. Although he wishes
27

28
     to return to the Property to patronize Balcom’s Market, which is conveniently


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 1   located near his medical provider, he reasonably feels that he cannot safely do so
 2
     until the violations are remediated. Thus, Plaintiff seeks an order requiring
 3

 4   Defendants to remediate existing violations, including by: providing an asphalt
 5
     overlay at the designated disabled parking space and adjacent access aisle to level
 6

 7
     the designated parking area; patching, repairing and leveling the asphalt and

 8   concrete on the route between the designated parking and the business entrance; re-
 9
     striping the designated disabled parking space and adjacent access aisle; providing
10

11   an ISA sign identifying the accessible entrance of the business; and
12
     securing/removing the mats inside and outside of the building.
13

14
     II.   RELEVANT FACTS

15         Plaintiff is a disabled individual with severe leg and arm issues. UF 1.
16
     Plaintiff has multiple levels of diffuse disc bulges in his spine and a pinched nerve
17

18   in his spine. UF 2. Plaintiff has sciatica, which causes him to experience pain in his
19
     lower spine and right leg. UF 3. Plaintiff has difficulty walking and standing for
20

21
     longer than fifteen (15) minutes; and, sometimes, the pain is so severe, he cannot

22   be mobile (i.e., cannot walk around) at all. UF 4. Plaintiff uses a cane daily to help
23
     him walk, and when his pain is especially bad, he uses a walker. UF 5. He also has
24

25   limited use of one hand/arm following an injury on the job and subsequent surgery.
26
     UF 6. Because Plaintiff has severely impaired mobility, and relies on a walker or
27

28
     cane, he needs ADA compliant routes of travel, parking, signage, and business


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 1   interiors for full and equal access to public accommodations. UF 7. The State of
 2
     California has issued him a permanent disabled person parking placard. UF 8.
 3

 4         Defendants own the property located at 600 N. Poplar Ave, Montebello, CA
 5
     90640, which houses a grocery/liquor store named Balcom’s Market which is open
 6

 7
     to the public. UFs 9-10. On December 16, 2019, August 17, 2020, and September

 8   14, 2020, Plaintiff visited the Property with the intent to patronize the business, but
 9
     he experienced difficulty, humiliation, and/or frustration upon encountering
10

11   various barriers. UF 11. When Plaintiff visited the Property, the route of travel was
12
     not smooth, and there were abrupt changes in the level in the route connecting the
13

14
     designated disabled parking space (and/or access aisle) to the business entrance,

15   which put him at risk of tripping with his cane or walker. UF 12. The striping and
16
     markings for the designated disabled space and the adjacent access aisle needed
17

18   repair and/or maintenance making it difficult for Plaintiff to identify the designated
19
     disabled space and being able to use it so he could unload his mobility device. UF
20

21
     13. Without adequate marking/striping there was no effective deterrent for others

22   who are not disabled from parking in the space and/or access aisle. UF 13.
23
     Plaintiff had difficulty disembarking from his vehicle and unloading his mobility
24

25   device because the designated disabled parking space and adjacent access aisle had
26
     slopes exceeding two percent (2%). UF 14. When Plaintiff visited the Property
27

28
     there was no blue sign with the ISA posted the front entrance of the business


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 1    identifying the accessible entrance, which put him at risk of having to backtrack
 2
      and/or search for the accessible entrance which is problematic for him given his
 3

 4    difficulties walking and standing. UF 15.
 5
            Plaintiff filed his Complaint on November 2, 2020, alleging violations of the
 6

 7
      ADA and the UCRA (Unruh Civil Rights Act (“UCRA”) (Cal. Civ. Code § 51, et

 8    seq.)). UF 16. On February 19, 2021, Plaintiff’s Certified Access Specialist
 9
      (CASp) conducted an accessibility inspection of the parking area, route(s) of travel
10

11    and business interior at the Property. UF 17. He confirmed that many of the
12
      above-referenced barriers still exist and also that many of the remediations are not
13

14
      costly, would not take much time to fix. UFs 18- 26. He also observed that none of

15    the remediations would have any impact on business operations, nor the economic
16
      activity of the business after they have been corrected. UFs 27-28.
17

18          After identifying additional barriers, and to comply with the Court Order
19
      dated July 2, 2021, Plaintiff filed a Third Amended Complaint (“TAC”) on July
20

21
      15, 2021, alleging violations of the 1991 ADA standards. UF 29. On March 9,

22    2022, Plaintiff’s investigator visited the Property and photographed the conditions
23
      thereon. UF 30. He confirmed that many of the above barriers still exist. UF 31-38.
24

25          Plaintiff is aware of the additional barriers to access observed by his CASp
26
      and his investigator. UF 39. Thus, although he would like to return to the Property,
27

28
      he is deterred from doing so, as he does not feel it is safe for him to visit


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 1    unless/until the violations are remediated. UF 41. The Property is conveniently
 2
      located near his medical provider, and he plans and intends to visit again once the
 3

 4    existing barriers to access are removed. UF 42.
 5
      III.   LEGAL STANDARD FOR SUMMARY JUDGMENT
 6

 7
             The Federal Rules of Civil Procedure provide that “the court shall grant

 8    summary judgment if the movant shows that there is no genuine dispute as to any
 9
      material fact and the movant is entitled to judgment as a matter of law.” Fed. Rule
10

11    Civ. Proc. 56. To prevail on summary judgment, a moving party need not disprove
12
      the opposing party’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
13

14
             The “mere existence of some alleged factual dispute between the parties will

15    not defeat an otherwise properly supported motion for summary judgment; the
16
      requirement is that there be no genuine issue of material fact.” Anderson v. Liberty
17

18    Lobby, Inc., 477 U.S. 242, 247-248 (1986). A disputed fact is “material” where the
19
      resolution of that fact “might affect the outcome of the suit under the governing
20

21
      law,” and the dispute is “genuine” where “the evidence is such that a reasonable

22    jury could return a verdict for the nonmoving party.” Id. at 248, 250-252 (mere
23
      existence of a scintilla of evidence in support of the non-movant’s position will be
24

25    insufficient; there must be evidence on which a jury could find by a preponderance
26
      of the evidence that the non-movant is entitled to a verdict).
27

28



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 1    IV.   PLAINTIFF HAS ESTABLISHED THE ELEMENTS OF HIS ADA
 2
            CLAIM FOR VIOLATIONS RE: LACK OF ACCESSIBLE
 3

 4          PARKING, ROUTE(S), AND ACCESS TO THE BUSINESS
 5
            INTERIOR
 6

 7
            Under Title III of the Americans with Disabilities Act of 1990 (“ADA”), the

 8    general rule is that “[n]o individual shall be discriminated against on the basis of a
 9
      disability in the full and equal enjoyment of the goods, services, facilities,
10

11    privileges, advantages, or accommodations of any place of public accommodation
12
      by any person who owns, leases (or leases to), or operates a place of public
13

14
      accommodation.” 42 U.S.C. § 12182(a).

15          The ADA applies not just to intentional discrimination, but also to
16
      thoughtlessness and indifference:
17

18                 Its passage was premised on Congress’s finding that
19
                   discrimination against the disabled is most often the product,
20

21
                   not of invidious animus, but rather of thoughtlessness and

22                 indifference, of benign neglect, and of apathetic attitudes rather
23
                   than affirmative animus. The concept of “discrimination”
24

25                 under the ADA does not extend only to obviously exclusionary
26
                   conduct – such as a sign stating that persons with disabilities
27

28
                   are unwelcome or an obstacle course leading to a store's


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 1                 entrance. Rather, the ADA proscribes more subtle forms of
 2
                   discrimination – such as difficult-to navigate restrooms and
 3

 4                 hard-to-open doors – that interfere with disabled individuals’
 5
                   “full and equal enjoyment” of places of public accommodation.
 6

 7
      Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 944-945 (9th Cir. 2011)

 8    (internal quotes and citations removed for readability).
 9
            To succeed on his Title III, ADA claim, “a plaintiff must show that: (1) he is
10

11    disabled within the meaning of the ADA; (2) the defendant is a private entity that
12
      owns, leases, or operates a place of public accommodation; and (3) the plaintiff
13

14
      was denied public accommodations by the defendant because of his disability.”

15    Arizona ex rel. Goddard v. Harkins Amusement Enterprises, Inc., 603 F.3d 666,
16
      670 (9th Cir. 2010), citing Molski v. M.J. Cable, Inc., 481 F.3d 724, 730 (9th Cir.
17

18    2007). “The third element – whether plaintiffs were denied public accommodations
19
      on the basis of disability – is met if there was a violation of applicable accessibility
20

21
      standards.” Moeller v. Taco Bell Corp., 816 F. Supp. 2d 831, 847 (N.D. Cal. 2011),

22    citing Chapman, 631 F.3d at 945. This is because discrimination is defined both as
23
      either a failure to ensure that alterations are “readily accessible to and useable by
24

25    persons with disabilities,” and, where there are no alterations, “a failure to remove
26
      architectural barriers … in existing facilities … where such removal is readily
27

28
      achievable.” 42 U.S.C. §§ 12183(a)(2); 12182(b)(2)(A)(iv).


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 1          Accordingly, the elements of a discrimination claim under the ADA are:
 2
                   1. Plaintiff must be disabled. 42 U.S.C. § 12182(a).
 3

 4                 2. Defendants’ facility must be a place of “public accommodation,”
 5
                      and, therefore, governed by Title III of the ADA. Id.
 6

 7
                   3. Defendants must be responsible parties, i.e., owners, operators,

 8                    lessors, or lessees. Id.
 9
                   4. Defendants’ facility must have either undergone an alteration that
10

11                    did not comply with the accessibility standards or contain an easily
12
                      removable barrier that the defendant failed to remove. 42 U.S.C.
13

14
                      §§ 12183(a)(2), 12182(b)(2)(A)(iv).

15                 5. Plaintiff must have actually encountered an unlawful barrier or
16
                      have reasonable grounds for believing that he is about to be
17

18                    subjected to discrimination as he would encounter such a barrier.
19
                      42 U.S.C. § 12188(a).
20

21
            As discussed below, Plaintiff’s civil rights were violated because

22    Defendants failed to provide accessible parking, route(s) of travel, and access to
23
      the building interior. Plaintiff discusses each element of his claim below.
24

25          A.     Plaintiff is Disabled
26
            Plaintiff has multiple levels of diffuse disc bulges in his spine, a pinched
27

28
      nerve, and sciatica, which cause him to experience pain in his spine and right leg.


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 1    UFs 2-3. He has difficulty walking and standing for longer than fifteen (15)
 2
      minutes; sometimes, the pain is so severe that he cannot be mobile (i.e., cannot
 3

 4    walk around) at all. UF 4. Plaintiff uses a cane daily to assist with walking, given
 5
      his leg issues. UF 5. When the pain is especially bad, Plaintiff uses a walker. Id.
 6

 7
            Plaintiff also has very limited use of one arm and hand as a result of an

 8    injury on the job as a firefighter years ago and the subsequent surgery. UF 6. One
 9
      hand has atrophied, and he cannot put much pressure on his one arm/hand. Id.
10

11          As a result of his permanent disabilities, the State of California issued
12
      Plaintiff a permanent disabled person parking placard. UF 8.
13

14
            Further, following extensive and protracted motion practice and having

15    considered Plaintiff’s response to the order to show cause, this Honorable Court,
16
      on November 18, 2021, ruled “Plaintiff’s response to the OSC demonstrates that
17

18    Plaintiff is a disabled person and thus protected under the ADA.” UF 1. Plaintiff is
19
      clearly disabled and entitled to the protections of the ADA.
20

21
            B.     Defendants Own/Operate a Place of Public Accommodation

22          Defendants have admitted, during their discovery responses, that they own
23
      the Property and business, which is open to the public. UFs 9-10. There is no
24

25    dispute as to this element.
26
            C.     The Property Has Barriers That Can Be Readily Removed
27

28
            There can be no genuine dispute that several barriers at the Property remain


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 1    and can easily be removed.
 2
          “To determine if Plaintiff describes an ‘architectural barrier’ the Court must
 3

 4    turn to the ADA Accessibility Guidelines for Buildings and Facilities (‘ADAAG’).
 5
      If an element does not meet or exceed ADAAG standards, it is considered a barrier
 6

 7
      to access.” Rush v. Denco Enterprises, Inc., 857 F. Supp. 2d 969, 973 (C.D. Cal.

 8    2012) (internal cites omitted). “Any element in a facility that does not meet or
 9
      exceed the requirements set forth in the ADAAG is a barrier to access.” Chapman
10

11    v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945 (9th Cir. 2011) (identifying this as
12
      the formal position of the Department of Justice). These are “objective” and
13

14
      “precise” standards, and “the difference between compliance and noncompliance”

15    is “often a matter of inches.” Id.
16
            The Ninth Circuit has opined that a plaintiff may recover under the ADA for
17

18    barriers personally encountered, as well as those subsequently uncovered during
19
      discovery, so long as the barriers are relevant to the person’s disability. Doran v. 7-
20

21
      ELEVEN, Inc., 524 F.3d 1034, 1043-1044 (9th Cir. 2008). The Ninth Circuit held:

22                 … he or she may conduct discovery to determine what, if any,
23
                   other barriers affecting his or her disability existed at the time
24

25                 he or she brought the claim. This list of barriers would then in
26
                   total constitute the factual underpinnings of a single legal
27

28



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 1                 inquiry, namely, the failure to remove architectural barriers in
 2
                   violation of the ADA ….
 3

 4    Doran, 524 F.3d at 1043-1044. Following an inspection, Plaintiff filed his TAC,
 5
      incorporating the additional barriers discovered. UF 29. Plaintiff now seeks
 6

 7
      summary judgment in his favor, given that clear barriers to access exist in violation

 8    of the ADA, and there has not been (cannot be) any (credible) assertion or showing
 9
      that the barriers cannot be readily removed.
10

11                 1.     Lack of Accessible Route(s)
12
            Section 4.3.2 (1) of the 1991 ADA Standards for Accessible Design
13

14
      provides: “There shall be at least one “accessible route from … the accessible

15    parking … to the accessible building entrance they serve.”” 1991 ADAS §
16
      4.3.2(1); See also 1991 ADAS § 4.1.2(1). “Parking access aisles shall be part of
17

18    an accessible route to the building or facility entrance…”. 1991 ADAS § 4.6.3.
19
            Here, there was/is no accessible pedestrian route(s) leading from the parking
20

21
      area/ access aisle to the front entrance of the business, according to the findings of

22    both Plaintiff’s CASp and investigator. UF 21, UF 33.
23
                          a.    Due to Abrupt Changes in Level
24

25          There is no accessible route connecting the designated disabled parking
26
      space/access aisle to the business entrance; rather, the route has uneven surfaces
27

28
      with abrupt vertical changes in level. Section 4.5.1 of the 1991 ADA Standards for


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 1    Accessible Design provides: “Ground and floor surfaces along accessible routes…
 2
      shall be stable, firm, slip-resistant…”. 1991 ADAS § 4.5.1. “Changes in level
 3

 4    between 1/4 in and 1/2 in (6 mm and 13 mm) shall be beveled with a slope…
 5
      Changes in level greater than 1/2 in (13 mm) shall be accomplished by means of a
 6

 7
      ramp.” 1991 ADAS § 4.5.2.

 8          The Site Accessibility Evaluation conducted by Plaintiff’s CASp on
 9
      February 19, 2021, and subsequent photographs taken by Plaintiff’s investigator
10

11    during his inspection of the Property on March 9, 2022, reveal that the route from
12
      the designated disabled parking space to the grocery/liquor store entrance has
13

14
      damaged and uneven ground with abrupt vertical edges greater than one-fourth

15    inch (1/4"). UF 21, 33. Plaintiff encountered these conditions, which put him at
16
      increased risk of tripping with his cane or walker. UF 12. Plaintiff respectfully
17

18    requests that this Court grant summary judgment as to the route of travel
19
      violations. See Section IV.C.1.a., supra.
20

21
                   2.     Lack of Accessible Parking Space and Access Aisle

22          The designated parking space and the adjacent access aisle are not clearly
23
      marked/painted. The paint is dilapidated and in need of repair and/or maintenance.
24

25    Plaintiff needs to park in the designated disabled parking space, and it is difficult
26
      for him to determine where to park when the designated disabled parking space is
27

28
      not clearly marked. UF 13. Also, other people who are not disabled tend to park in


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 1    the designated disabled parking space and/or access aisle, which lack adequate
 2
      marking. It is exceedingly difficult for Plaintiff to disembark from the car when he
 3

 4    has to use a non-disabled parking space (without an adjacent access aisle), instead
 5
      of a designated disabled parking space (with an adjacent access aisle). Id; see 1991
 6

 7
      ADAS § 4.6.3.

 8          The designated disabled parking space and access aisle at the Property have
 9
      slopes in excess of 2%. Section 4.6.3 of the 1991 ADA Standards for Accessible
10

11    Design provides: “Parking spaces and access aisles shall be level with surface
12
      slopes not exceeding 1:50 (2%) in all directions.” 1991 ADAS § 4.6.3. Plaintiff’s
13

14
      CASp identified slopes as high as 6.5% in the adjacent access aisle. UF 20.

15    Further, Plaintiff’s investigator identified slopes in both the designated disabled
16
      parking space and access aisle exceeding 2%. UFs 35-37. Plaintiff encountered
17

18    slopes in both the designated disabled parking space and the access aisle. UF 14.
19
      He had trouble disembarking from the vehicle and unloading his mobility device
20

21
      on a sloped surface and had difficulty traversing on sloped surfaces. UF 14.

22          The designated disabled parking space is required to be level. 1991 ADAS §
23
      4.6.3. Here there were large open cracks that contain abrupt edges and surface
24

25    irregularities over a one-fourth inch (1/4") found within the designated disabled
26
      parking space by both Plaintiff’s CASp and Plaintiff’s investigator. UFs 19, 32.
27

28
      Plaintiff has challenges maneuvering with his mobility device(s) on such damaged


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 1    pavement, because he could trip and/or fall if his cane, walker, and/or feet catch on
 2
      the ground. Further, traversing on such uneven surfaces causes Plaintiff additional
 3

 4    pain as he suffers from neuropathy which affects the bottom of his feet. UF 40.
 5
            Accordingly, Plaintiff respectfully requests that the Court grant him
 6

 7
      summary judgment with respect to the various violations in the parking lot.

 8                 3.     Lack of Accessible Business Interior
 9
            The area in and around the business is not compliant due to unsecured mats
10

11    and inadequate signage at the front entrance.
12
            Carpets or mats shall be “securely attached.” 1991 ADAS § 4.5.3.
13

14
      Photographs taken by both Plaintiff’s CASp and investigator demonstrate that mats

15    inside and outside of the business are not secured. UFs 23, 34. The unsecured mats
16
      can easily buckle and roll. Id. Plaintiff is at risk of tripping on these unsecured
17

18    mats with his cane or walker. UF 40.
19
            Accessible entrances shall “be identified by the International Symbol of
20

21
      Accessibility…”. 1991 ADAS § 4.1.2 (7). Photographs taken by both Plaintiff’s

22    CASp and investigator demonstrate that there is no ISA sign at the front entrance
23
      to the business. UFs 22, 38. Plaintiff encountered inadequate signage at the front
24

25    entrance of the Property, making it difficult for him to identify the accessible
26
      entrance. UF15. Further, Defendants admitted, in their discovery responses, that
27

28



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 1    there is no ISA sign at the front entrance of the business, and that there was no ISA
 2
      sign at the front entrance of the business in 2019 and 2020. UF 44.
 3

 4           Thus, Plaintiff respectfully requests that the Court grant summary judgment
 5
      with respect to the various violations at the Property.
 6

 7
            D.     Plaintiff Encountered Violations, and Is Deterred from Returning

 8          A plaintiff is entitled to injunctive relief under the ADA if he “is being
 9
      subjected to discrimination on the basis of disability,” or “has reasonable grounds
10

11    for believing [he] is about to be subjected to discrimination.” 42 U.S.C. §
12
      12188(a)(1). Thus, a plaintiff has standing to seek injunctive relief based on
13

14
      barriers personally encountered, or those he reasonably believe he will encounter.

15          Generally, a plaintiff must meet three requirements in order to establish
16
      standing: (1) the plaintiff must have “suffered an injury in fact – an invasion of a
17

18    legally protected interest which is (a) concrete and particularized, and (b) actual or
19
      imminent, not conjectural or hypothetical”; (2) there must be a “causal connection
20

21
      between the injury and the conduct complained of”; and (3) it must be “likely, as

22    opposed to merely speculative, that the injury will be redressed by a favorable
23
      decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-561 (1992).
24

25          In the context of civil rights statutes, such as the ADA, courts are instructed
26
      to take a “broad view” of constitutional standing. Doran, 524 F.3d at 1039-40.
27

28
      With regard to ADA discrimination claims, the Ninth Circuit recognizes a


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 1    deterrent effect doctrine. In connection with the requirement that the injury be
 2
      actual or imminent, “a disabled individual who is currently deterred from
 3

 4    patronizing a public accommodation due to a defendant’s failure to comply with
 5
      the ADA has suffered ‘actual injury.’” Doran, 524 F.3d at 1040. In other words,
 6

 7
      injury is imminent when a plaintiff “is threatened with harm in the future because

 8    of existing or immediately threatened non-compliance with the ADA.” Id.
 9
            The Ninth Circuit further clarified that a plaintiff need not personally
10

11    encounter a barrier to demonstrate injury supporting standing. Instead, “[i]t is the
12
      plaintiff’s ‘actual knowledge’ of a barrier, rather than the source of that
13

14
      knowledge, that is determinative.” Civil Rights Educ. & Enforcement Ctr. v. Hosp.

15    Properties Trust, 867 F.3d 1093, 1099 (9th Cir. 2017). Indeed, “[o]nce a disabled
16
      individual has encountered or become aware of alleged ADA violations that deter
17

18    his patronage of[,] or otherwise interfere with his access to[,] a place of public
19
      accommodation, he has already suffered an injury in fact traceable to the
20

21
      defendant’s conduct and capable of being redressed by the courts.” Doran, 524

22    F.3d at 1042, n.5. In other words, once a plaintiff encounters one barrier at a site, a
23
      plaintiff can sue to have all barriers related to the plaintiff’s disability removed,
24

25    regardless of whether the plaintiff personally encountered them. Id. at 1039-1040.
26
            Plaintiff encountered barriers which caused him difficulty, humiliation,
27

28
      and/or frustration. UF 11. Plaintiff is aware of the additional barriers observed by


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 1    Plaintiff’s CASp and his investigator. UF 39. He hopes intends/plans to return once
 2
      the barriers are removed, as the Property is near his medical provider. UF 42.
 3

 4          E.     Remediation of the Barriers is Readily Achievable
 5
            Barrier removal is “readily achievable” when it is “easily accomplishable
 6

 7
      and able to be carried out without much difficulty or expense.” Moeller v. Taco

 8    Bell Corp., 816 F. Supp. 2d 831, 847 (N.D. Cal. 2011). The Ninth Circuit recently
 9
      established a framework for assessing whether barrier removal is readily
10

11    achievable, based on several factors: A) nature and cost of action; B) overall
12
      financial resources of the facility, number of persons employed, effect on expenses
13

14
      and resources, or impact upon operation of the facility; C) overall financial

15    resources of covered entity; and D) type of operation of the covered entity. Lopez
16
      v. Catalina Channel Express, Inc., 974 F.3d 1030, 1038 (9th Cir. 2020). Under this
17

18    framework, acknowledging plaintiffs may not have information on all factors, the
19
      Ninth Circuit stated, “plaintiffs are not required to address in detail each of the four
20

21
      factors to meet their initial burden of plausibly explaining why it is readily

22    achievable to remove an architectural barrier.” Id.
23
            In this case, the remediation of the identified barriers is not costly, time-
24

25    consuming, or damaging to the operation of the business. UFs 24-28. None of the
26
      remediations would impact the operation of the business nor would they impact the
27

28
      economic activity of the business after they have been corrected. UF 27-28.


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 1           The estimated cost to re-stripe the designated disabled parking space and
 2
      adjacent access aisle, to provide an asphalt overlay at the designated parking space
 3

 4    and access aisle to level the designated parking area, and to patch, repair and level
 5
      the asphalt and concrete on the route between the designated parking space and the
 6

 7
      business entrance is $3,500. It should take three days to complete. UF 24.

 8           It would cost an estimated $250 to provide the ISA sign at the front entrance
 9
      and it should take one hour to complete. UF 25.
10

11           Removing or securing the floor mat is estimated at $0-25 and it should take
12
      fifteen (15) minutes to complete. UF 26.
13

14
             Plaintiff submits that the minimal costs, time involved to complete

15    remediation, and lack of impact on the business operation provide a plausible
16
      explanation for why barrier removal would be readily achievable.
17

18    V.     REMEDIES
19
             There are no genuine disputes of material fact remaining. Plaintiff is entitled
20

21
      to injunctive relief under the ADA. Plaintiff seeks injunctive relief pursuant to 42

22    U.S.C. § 12188(a). The injunctive relief “shall include an order to alter facilities to
23
      make such facilities readily accessible to and useable by individuals with
24

25    disabilities” to the extent required by the ADA. 42 U.S.C. § 12188(a)(2).
26
             As set forth above, Plaintiff may seek recourse for barriers he personally
27

28
      encountered, as well as for those he is aware of that cause him to be reasonably


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 1    deterred from visiting the public accommodation. See Section IV.D., supra. A
 2
      plaintiff seeking injunctive relief must also show “a sufficient likelihood that [the
 3

 4    plaintiff] will again be wronged in a similar way…[t]hat is,…a real and immediate
 5
      threat of repeated injury.” Fortyune v. American Multi-Cinema, Inc., 364 F.3d
 6

 7
      1075, 1081 (9th Cir. 2004) (internal quotations omitted).

 8          Here, there is every indication that the Property will remain in, or return to,
 9
      a non-compliant state in the future if an appropriate injunctive order is not issued.
10

11    During this case, Defendants have failed to remove the aforementioned/identified
12
      barriers, removal of which is readily achievable. Plaintiff will not be able to
13

14
      access the Property without difficulty, humiliation, and/or frustration if

15    Defendants are not ordered to remediate the existing violations. See UF 11.
16
      Accordingly, an injunction is appropriate to ensure that Defendants comply with
17

18    the law, and that Plaintiff can enjoy full access of the premises.
19
      VI.   CONCLUSION
20

21
            For all the foregoing reasons, Plaintiff respectfully requests that this Court

22    grant his motion and award judgement in the form of injunctive relief in favor of
23
      Plaintiff and against Defendants.
24

25    Dated: May 19, 2022                 THE LAW OFFICE OF HAKIMI & SHAHRIARI
26
                                          By: /s/ Anoush Hakimi
                                              Anoush Hakimi, Esq.
27
                                              Attorneys for Plaintiff, James Shayler
28



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